                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION


IN RE:
                                                    Case No. 3:17-bk-03699
HOWARD WAYNE FINCH,                                 Chapter 13
                                                    Judge Harrison
     Debtor.


HOWARD WAYNE FINCH,

     Plaintiff,

v.                                                  Adversary No. 3:18-ap-90082

NATIONSTAR MORTGAGE LLC and CENTEX
HOME EQUITY LOAN TRUST 2002-A,

     Defendants.


                          DEFENDANTS’ MOTION TO DISMISS

         COME NOW, Nationstar Mortgage LLC (“Nationstar”) and The Bank of New York

 Mellon f/k/a The Bank of New York, as successor in interest to JPMorgan Chase Bank, N.A.,

 f/k/a Bank One, National Association, as Trustee for Centex Home Equity Loan Trust 2002-A

 (“BNY Mellon”)1 and file this Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(6),

respectfully showing this Honorable Court as follows:




 1
  BNY Mellon is erroneously named in this action as solely “Centex Home Equity Loan Trust
 2002-A.” The Bank of New York Mellon f/k/a The Bank of New York is the Trustee for the
 Centex Home Equity Loan Trust 2002-A, and a trust must act through a trustee.
                                               1

Case 3:18-ap-90082      Doc 24   Filed 12/14/18 Entered 12/14/18 09:45:42         Desc Main
                                 Document     Page 1 of 8
                                    STATEMENT OF FACTS

       In this action, the Plaintiff-Debtor, Howard Wayne Finch (“Plaintiff”), contends that

Nationstar and BNY Mellon have erroneously accounted payments made on his mortgage loan

following the completion of a prior bankruptcy case in 2013. The facts do not support the claims

that are being raised here.

       The Plaintiff first filed for Chapter 13 bankruptcy in this Court on 2008 (Case No. 08-

05983) (the “2008 Bankruptcy”). [Doc. 1] at ¶ 9. Nationstar filed a claim in the 2008 Bankruptcy

related to a mortgage loan encumbering the property at 6516 Longview Drive, Murfreesboro,

Tennessee 37129. See [Doc. 1-1]. The Chapter 13 Trustee paid the claim and an Order was

entered on August 22, 2013, declaring the mortgage current as of July 2013. [Doc. 1-4]. An

Agreed Order was also entered that declared, although the loan would be treated as current, there

were $1,922.68 in post-petition escrow advances that would remain on the end of the loan. [Doc.

1] at ¶ 12. A discharge was granted in the 2008 Bankruptcy on October 1, 2013. Id. at ¶ 13.

       After the discharge was granted, the Plaintiff alleges that he “made numerus payments to

the Defendant.” Id. at ¶ 14. A review of the exhibit attached as supposed proof of these payments

shows inconsistent payments made in late 2013 and early to mid-2014. See [Doc. 1-7]. Also

included within the exhibit is a Trustee’s ledger from a brief Chapter 13 case filed by the

Plaintiff’s wife in 2016 that was dismissed seven months after confirmation for failure to fund

the plan. Id.; see also No. 3:16-bk-02568 (Bankr. M.D. Tenn.) (the “2016 Bankruptcy”).

Nationstar, as servicer for BNY Mellon, filed a claim in the 2016 Bankruptcy for $43,883.62. see

2018 Bankruptcy, Claim No. 4. The Debtor did not object to this claim and proposed to pay it in

full in the confirmed plan. See id. at [Doc. 38].




                                                    2

Case 3:18-ap-90082        Doc 24    Filed 12/14/18 Entered 12/14/18 09:45:42          Desc Main
                                    Document     Page 2 of 8
        After the 2016 Bankruptcy was dismissed, the Plaintiff filed the instant Chapter 13 case

on May 29, 2017. [Doc. 1] at ¶ 16. The Plaintiff claims that he scheduled the debt owed to BNY

Mellon as disputed, and the confirmed Chapter 13 plan treats the debt “as a ‘continuing’ debt

with plan payments equal to the normal monthly mortgage payments plus an arrearage cure

provision.” Id. at ¶ 19. However, the confirmation order, which is attached to the Complaint at

[Doc. 1-9], shows that the debt was not treated this way. It is listed as a standard secured debt

that will be paid in full over the life of the plan. See [Doc. 1-9] at p. 2. In fact, the plan states, in

bold letters, that “there are no long term claims paid by the Trustee.” Id. at p. 1. BNY Mellon

filed a proof of claim in the current case on October 10, 2017, in the amount of $36,753.55.

[Doc. 1-15]. The loan matured on October 1, 2016. Id. at p. 17.

        In his Complaint, the Plaintiff brings four claims: 1) objection to claim; 2) violation of

Fed. R. Bankr. P. 3002.1(c); 3) fraud; and 4) breach of contract. However, with respect to the

violation of Rule 3002.1(c) and fraud, the Plaintiff has failed to state a claim upon which relief

can be granted, and those claims should be dismissed.

                       ARGUMENT AND CITATION OF AUTHORITY

A.      STANDARD OF REVIEW

        This Court may grant a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6) if the

complaint does not state a claim that is “plausible on its face.” Ashcroft v. Iqbal, 556 U.S. 662,

678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “Determining whether

a complaint states a plausible claim for relief will . . . be a context-specific task that requires the

reviewing court to draw on its judicial experience and common sense.” Id. at 679 (citation

omitted). In considering a motion to dismiss, the Court must treat all well-plead allegations of

the Complaint as true. Id. However, “the tenet that a court must accept as true all of the



                                                   3

Case 3:18-ap-90082        Doc 24     Filed 12/14/18 Entered 12/14/18 09:45:42                Desc Main
                                     Document     Page 3 of 8
allegations contained in a complaint is inapplicable to legal conclusions. Threadbare recitals of

the elements of a cause of action, supported by mere conclusory statements, do not suffice.” Id.

at 678 (citing Twombly, 550 U.S. at 555). “Rule 8 marks a notable and generous departure from

the hyper-technical code-pleading regime of a prior era, but it does not unlock the doors of

discovery for a plaintiff armed with nothing more than conclusions.” Id. at 678-79.

B.     THERE IS NO PRIVATE CAUSE OF ACTION UNDER FED. R. BANKR. P.
       3002.1

       In Count II, the Plaintiff alleges that the Defendants violated Fed. R. Bankr. P. 3002.1 by

attempting to collect post-petition fees, charges, and advances that were not disclosed to the

Court – in the 2016 Bankruptcy and this bankruptcy – in accordance with Rule 3002.1. Rule

3002.1(c) applies to “claims (1) that are secured by a security interest in the debtor’s principal

residence, and (2) for which the plan provides that either the trustee or the debtor will make

contractual installment payments,” and requires that

       The holder of the claim shall file and serve on the debtor, debtor’s counsel, and
       the trustee a notice itemizing all fees, expenses, or charges (1) that were incurred
       in connection with the claim after the bankruptcy case was filed, and (2) that the
       holder asserts are recoverable against the debtor or against the debtor’s principal
       residence. The notice shall be served within 180 days after the date on which the
       fees, expenses, or charges are incurred.

       Rule 3002.1(i) provides for the consequences of the failure to file a notice required by

subsection (c):

       (i) FAILURE TO NOTIFY. If the holder of a claim fails to provide any information as
       required by subdivision (b), (c), or (g) of this rule, the court may, after notice and
       hearing, take either or both of the following actions:
         (1) preclude the holder from presenting the omitted information, in any form, as
       evidence in any contested matter or adversary proceeding in the case, unless the
       court determines that the failure was substantially justified or is harmless; or
          (2) award other appropriate relief, including reasonable expenses and attorney’s
       fees caused by the failure.



                                                 4

Case 3:18-ap-90082       Doc 24    Filed 12/14/18 Entered 12/14/18 09:45:42              Desc Main
                                   Document     Page 4 of 8
       The Committee Notes point out that, if a creditor seeks to collect fees or charges not

disclosed during the case, then “the debtor may move to have the case reopened in order to seek

sanctions against the holder of the claim under subdivision (i).”

       Notably, nothing in the rule provides for a private cause of action, and the Committee

Notes are clear that only sanctions can be awarded. The only court known to have been faced

with this question concluded that “no such cause of action exists” under Rule 3002.1(i). Berkeley

v. Wels Fargo Bank, No. 15-cv-00749-JSC, 2015 WL 6126815, at *7 n.4 (N.D. Cal. Oct. 19,

2015). Allowing for a private cause of action in this situation would be analogous to allowing a

party to sue for a violation of Fed. R. Civ. P. 11. It is axiomatic that no such claim exists, and

neither does a claim for a violation of Rule 3002.1. As stated in the Committee Notes, the

Debtors can bring a motion for sanctions in the underlying bankruptcy case, but there is no

suggestion anywhere that there is a standalone cause of action.

       Moreover, the Committee Notes makes clear that the motion must be brought in the

bankruptcy case in which the fees were incurred. Some of the complained of fees were incurred

in the 2016 Bankruptcy, not the bankruptcy case underlying this adversary. As for the fees

complained of that were incurred in the present case, Rule 3002.1 simply does not apply. As

noted above, the rule applies only to “claims (1) that are secured by a security interest in the

debtor’s principal residence, and (2) for which the plan provides that either the trustee or the

debtor will make contractual installment payments.” However, BNY Mellon’s claim is not being

paid in contractual installments. The loan matured in 2016 and is being paid in full over the life

of the plan. See Statement of Facts, supra. Accordingly, Count V completely fails to state a claim

and should be dismissed.




                                                 5

Case 3:18-ap-90082       Doc 24    Filed 12/14/18 Entered 12/14/18 09:45:42           Desc Main
                                   Document     Page 5 of 8
C.     THE PLAINTIFF HAS FAILED TO STATE A CLAIM FOR FRAUD

       In Count III, the Plaintiff attempts to state a claim of fraud based on the following

allegedly false representations:

       34. Defendant has made false material representations to this Court and the
       Plaintiff.
       35. On October 10, 2017, the Defendant filed an attachment indicating that the
       balance of the Plaintiff’s claim included a principal balance of $18,777.33. On
       April 17, 2017, the Defendant sent the Plaintiff a statement indicating that the
       loan was due for the September 1, 2014 payment.
       36. Specifically, on October 10, 2017, the Defendant filed an attachment
       indicating that bankruptcy charges were owed for: 9/8/2016-$500.00, 12/13/2016-
       $100.00, 2/10/2017-$100.00, 2/6/2017-$500.00. These charges were not approved
       by this Court and or were never incurred.
       37. When Defendant made the material representation, it (i) knew that the
       material representation was false, or (ii) made the material representation
       recklessly without any knowledge of its truth and as a positive assertion.
       38. Plaintiff has suffered damages as a result of the Defendant’s material
       misrepresentation.

[Doc. 1] at ¶¶ 34-38.

       “Actions for fraud contain four elements: (1) an intentional misrepresentation of a

material fact, (2) knowledge of the representation’s falsity, and (3) an injury caused by

reasonable reliance on the representation. The fourth element requires that the misrepresentation

involve a past or existing fact or, in the case of promissory fraud, that it involve a promise of

future action with no present intent to perform.” Dobbs v. Guenther, 846 S.W.2d 270, 274 (Tenn.

Ct. App. 1992) (citing Oak Ridge Precision Indus., Inc. v. First Tenn. Bank Nat’l Ass’n, 835

S.E.2d 25, 29 (Tenn. Ct. App. 1992)). The circumstances constituting a claim for fraud must be

pleaded with particularity pursuant to Fed. R. Civ. P. 9(b). “[T]o satisfy Rule 9(b), a plaintiff

must (1) specify the time, place, and content of the alleged misrepresentation, (2) identify the

fraudulent scheme and the fraudulent intent of the defendant, and (3) describe the injury resulting

from the fraud.” Thompson v. Bank of Am., N.A., 773 F.3d 741, 751 (6th Cir. 2004) (citing U.S.



                                                6

Case 3:18-ap-90082       Doc 24    Filed 12/14/18 Entered 12/14/18 09:45:42            Desc Main
                                   Document     Page 6 of 8
ex rel. SNAPP, Inc. v. Ford Motor Co., 532 F.3d 496, 504 (6th Cir. 2008)). The fraud claim fails

because it is not pleaded with particularity, and does not meet the elements of fraud.

       Here the Plaintiff has completely failed to “identify the fraudulent scheme and the

fraudulent intent of the defendant, (3) describe the injury resulting from the fraud,” or show any

type of reliance. Thompson, 773 F.3d at 751. Rather than describe, with particularity, his injuries,

the Plaintiff simply set forth a skeletal laundry list of his supposed actual damages in paragraph

44 of the Complaint. Not only is this insufficient under Rule 9(b), but it does not even attempt to

describe which injuries are attributable to the supposed fraud. Moreover, the Plaintiff has failed

to allege how he relied upon the allegedly false statement – in fact, the word “rely” (or

“reliance”) appears nowhere in Count III. The Plaintiff has failed to state a claim and Count III

should be dismissed.

                                         CONCLUSION

       Based on the foregoing, Nationstar and BNY Mellon respectfully request that this Court

grant its Motion to Dismiss.

       WHEREFORE, Nationstar and BNY Mellon pray for relief as follows:

       1) That this Court grant their Motion to Dismiss and dismiss Counts II and III with

           prejudice pursuant to Fed. R. Civ. P. 12(b)(6); and

       2) For any other relief that this Court deems just and proper.




                                                 7

Case 3:18-ap-90082       Doc 24    Filed 12/14/18 Entered 12/14/18 09:45:42              Desc Main
                                   Document     Page 7 of 8
       Respectfully submitted, this 14th day of December, 2018.

                                            /s/ Bret J. Chaness
                                            BRET J. CHANESS (BPR# 31643)
                                            RUBIN LUBLIN TN, PLLC
                                            3145 Avalon Ridge Place, Suite 100
                                            Peachtree Corners, GA 30071
                                            (678) 281-2730 (Telephone)
                                            (404) 921-9016 (Facsimile)
                                            bchaness@rubinlublin.com

                                            Attorney for Nationstar Mortgage LLC and The
                                            Bank of New York Mellon f/k/a The Bank of New
                                            York, as successor in interest to JPMorgan Chase
                                            Bank, N.A., f/k/a Bank One, National Association,
                                            as Trustee for Centex Home Equity Loan Trust
                                            2002-A



                                 CERTIFICATE OF SERVICE

       I certify that on December 14, 2018, the within and foregoing was filed via CM/ECF,

which will serve notice on all parties.


                                            /s/ Bret J. Chaness
                                            BRET J. CHANESS (BPR# 31643)




                                               8

Case 3:18-ap-90082       Doc 24     Filed 12/14/18 Entered 12/14/18 09:45:42        Desc Main
                                    Document     Page 8 of 8
